Case 1:07-cr-00124-WES-PAS Dooument 94 Filed 04/02/08 Page 1 of 7 Page|D #: 294
AO 245B (Rev. 6/05) Judgment in a Criminal Case - Sheet 1

UNITED STATES DISTRICT COURT
District of Rhode Island

UNITED STATES OF AMERICA JUDGMENT IN A CRIMINAL CASE
V.
JASON M_ TURCIOS Case Number: 1207CR00124-03T

USM Number: 05933-070

Robert Mann, Esq.
Defendant’s Attorney

 

THE DEFENDANT:

[/] pleaded guilty to count(s): as to Counts 1. 21-24 of the Indictment .

[ ] pleaded nolo contendere to count(s) _ which was accepted by the court.
[ ] was found guilty on count(s) ___ after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Date Offense Count
Title & Section Nature of Offense Concluded Numbergs[
18 U.S.C. § 1349 (1) Conspiracy to Coml_nit Bank Fraud August 7, 2007 I
18 U.S.C. §§ 1344 and 2 Bank Fraud August 2, 2007 XXI-XXIV

The defendant is sentenced as provided in pages 2 through 7 of this judgment The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.

[ ] The defendant has been found not guilty on count(s) _.
[ ] Count(s) _ [ ] is [ ] are dismissed on motion of the United States.

IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of
name, residence, or mailing address until all fines, restitution, costs, and Special assessments imposed by this judgment are fully paid.

If ordered to pay restitution, the defendant shall notify the court and United States Attorney of any material change in the defendant’s
economic circumstances

March 26, 2008
Date of Imposition of Judgrnent

m f
C/ \3 <NWL
Signature of Judicial Officer

ERNEST C. TORRES
Senior United States District Judge
Name & Title of Judicial Officer

H} \l Q%
Date

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AO 245B (Rev. 6/05) Judgment in a Criminal Case - Sheet 2 - Irnprisonment

CASE NUMBER: 1:07CR00124-03T Judgment - Page 2 of 7
DEFENDANT: JASON M. TURCIOS

IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of_Q
months and 1 dav as to Counts 1, 21-24 to be served concurrently .

[/] The court makes the following recommendations to the Bureau of Prisons:

The defendant be assigned to a facility that offers substance abuse counseling and treatment

[ ] The defendant is remanded to the custody of the United States Marshal.
[ ] The defendant shall surrender to the United States Marshal for this district.
[ ] at _ on _.

[ ] as notified by the United States Marshal.

[/] The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
[/] before 12:00 gm on 4/24/08 .
[ ] as notified by the United States Marshal.
[ ] as notified by the Probation or Pretrial Services Officer.

 

 

 

 

RETURN
I have executed this judgment as follows:
Defendant delivered on to
at , with a certified copy of this judgment

 

 

UNITED STATES MARSHAL

By

 

Deputy United States Marshal

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AO 245B (Rev. 6/05) Judgment in a Criminal Case - Sheet 3 - Supervised Release

CASE NUMBER: 1 1:07CR00124-03T Judgment - Page 3 of 7 n
DEFENDANT; JASON M. TURCIOS

SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of 4 years as to Counts 1, 21-24 to run
concurrently.

The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from the custody of the
Bureau of Prisons.

The defendant shall not commit another federal, state, or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled substance The

defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests thereafter as determined by
the Court.

[ ] The above drug testing condition is suspended based on the court's determination that the defendant poses a low risk of future substance
abuse. (Check, if applicable)

[/] The defendant shall not possess a firearm, destructive device, or any other dangerous weapon. (Check, if applicable)

[/] The defendant shall cooperate with the collection of DNA as directed by the probation officer. (Check, if applicable)

[ ] The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a student,
as directed by the probation officer. (Check, if applicable)

[ ] The defendant shall participate in an approved program for domestic violence. (Check, if applicable)

If this judgment imposes a fine or a restitution, it is a`condition of supervised release that the defendant pay in accordance with the Schedule of
Payments sheet of this judgment

The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions on the
attached page.

STANDARD CONDITIONS OF SUPERVISION

l) the defendant shall not leave the judicial district Without permission of the court or probation officer;

2) the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of each
month;

3) the defendant shall answer truthfully all inquiries by the probation officer and follow instructions of the probation officer;

4) the defendant shall support his or her dependants and meet other family responsibilities;

5) the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training or other acceptable
reasons;

6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;

7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled substance
or any paraphernalia related to any controlled substances, except as prescribed by a physician;

8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;

9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a felony,
unless granted permission to do so by the probation officer;

10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
contraband observed in plain view of the probation officer;

ll) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;

12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the permission of .
the court; and .

13) as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendants criminal record or
personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the defendants compliance
With such notification requirement

 

Upon a finding of a violation of probation or supervised release, I understand that the Court may (l) revoke supervision or (2) extend the term of
supervision and/or (3) modify the conditions of supervision.
'I'hese conditions have been read to me. I fully understand them and have been provided a copy.

(Signed)

 

' Defendant Date

 

US Probation Officer/Designated Witness ` Date

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AO 245B (Rev. 6/05) Judgment in a Criminal Case - Sheet 3 - Supervised Release

CASE NUMBER: 1:07CR00124-03T Judgment - Page 4 of 7
DEFENDANT: JASON M. TURCIOS

SPECIAL CONDITION(S) OF SUPERVISION

In addition, the defendant shall comply with the following special condition(s):

The defendant shall participate in and satisfactorily complete substance abuse counseling and treatment, on an inpatient or outpatient
basis, as approved by the U.S. Probation Office.

During the term of supervised release, the defendant shall submit to up to 72 drug tests per year at such times as are approved by the
U.S. Probation Office.

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AO 245B t§ev. 6/05 j Judgment in a Criminal Case - Sheet S, Part B - Crirninal Monetary Penalties
CASE NUMBER: 1:07CR00124-03T

Judgment - Page 5 of 7
DEFENDANT: JASON M. TURCIOS

CRIMINAL MONETARY PENALTIES

The defendant shall pay the following total criminal monetary penalties in accordance with the schedule of payments set forth on
Sheet 6.

Assessment Fine Restitution

Totals: $500.00 $0.00 $68,929.52

[ ] The determination of restitution is deferred until . An Amended Judgment in a Crimz`nal Case (AO 245C) will be entered after
such determination

[/] The defendant shall make restitution (including community restitution) to the following payees in the amount listed.

If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all non-federal
victims must be paid before the United States is paid.

*Total Amount of Priority Order
Name of Payee Amount of vLoss Restitution Ordered or % of Pament
Citizens Bank $68,929.52 $68,929.52 100%
1 Citizens Drive
Riverside, RI 02915
TOTALS: §68,929.52

[ ] If applicable, restitution amount ordered pursuant to plea agreement $

[ ] The defendant shall pay interest on any fine or restitution of more than $2,500, unless the fme or restitution is paid in full before
the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. §3612(f). All of the payment options on Sheet 6 may be
subject to penalties for delinquency and default, pursuant to 18 U.S.C. §3612(g).

[/] The court determined that the defendant does not have the ability to pay interest, and it is ordered that:

[ ] the interest requirement is waived for the [ ] fine and/or [ ] restitution.

[/] the interest requirement for the [ ] fine and/or [/] restitution is modified as follows:

Accrual of interest is waived during defendant’s term of incarceration

* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after September 13, 1994 but
before Apri123, 1996.

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AO 2453 §§ev. 6/052 Judgment in a Criminal Case - Sheet 6 - Schedule of Payments

 

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DEFENDANT; JASON M. TURCIOS
SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties shall be due as follows:
A [/] Lump sum payment of $69,429.52 due immediately

[ ] not later than _, or
[] in accordance with [] C, [] D, [] E, or [] F below; or

B [] Payment to begin immediately (may be combined with [] C, [] D, or [] F below); or

C [ ] Payment in equal _ (e.g., weekly, monthly, quarterly) installments of $_ over a period of _ (e.g., months or years), to
commence _ (e.g., 30 or 60 days) after the date of this judgment; or

D [ ] Payment in equal _ (e.g., Weekly, monthly, quarterly) installments of $_ over a period of _ (e.g., months or years), to
commence _ (e.g., 30 or 60 days) after release from imprisonment to a term of supervision; or

E [] Payment during the term of supervised release will commence within _ (e.g., 30 or 60 days) after release from

imprisonment The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F [ ] Special instructions regarding the payment of criminal monetary penalties:

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment payment of criminal monetary penalties is
due during imprisonment All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’
Inrnate Financial Responsibility Program, are made to the clerk of the court
The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
[/] Joint and Several
Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
and corresponding payee, if appropriate
[] The defendant shall pay the cost of prosecution.

[] The defendant shall pay the following court cost(s):

[] The defendant shall forfeit the defendant’s interest in the following property to the United States:

Payments shall be applied in the following order: (1) assessment (2) restitution principal, (3 )restitution interest (4) fine principal, (5) community restitution, (6) fine
interest, (7) penalties, and (8) costs, including cost of prosecution and court costs.

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AO 245B (Rev. 6/05) Judgment in a Crirninal Case - Sheet 6A - Schedule of Payments

CASE NUMBER: 1:07CR00124-03T Judgment - Page 7 of 7
DEFENDANT: JASON M. TURCIOS

DEFENDANTS AND CO-DEFENDANTS HELD JOINT AND SEVERAL

Case Number

Defendant and Co-Defendant Names Joint and Several Corresponding Payee
gincluding defendant number[ Total Amount Amount Number§s}
CR07-124-03T $68,929.52 $68,929.52 Citizens Bank
Jason Turcios

CR07-124-01T $68,929.52 $68,929.52 Citizens Bank
John Perras

CR07-124-02T $48,300.00 $48,300.00 Citizens Bank
David Chavez

CR07-124-04T $41,300.00 $41,300.00 Citizens Bank

Karen Lynch

